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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

JOHN DOE, an individual,
Plaintiff,

VS.

UNIVERSITY OF MICHIGAN (as to Title
IX violations), BOARD OF REGENTS OF
THE UNIVERSITY OF MICHIGAN, a
constitutional corporate body (as to Title IX &
ELCRA violations), PAMELA HEATLIE,
ROBERT SELLERS, MARTIN
PHILBERT, ERIK WESSEL, LAURA
BLAKE JONES, E. ROYSTER HARPER,
SUZANNE MCFADDEN, and PAUL
ROBINS()N, employees of the University of
Michigan, sued in his or her personal and
ojj‘icial capacities, jointly and severally,

Case No.: 18-0\/-11776
Hon. Arthur J. Tarnow
Mag. Elizabeth A. Stafford

 

 

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PLAINTIFF’S RESPONSE TO DEFENDANTS’ MOTION
TO STAY PENDING APPEAL

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I. INTRODUCTION

A stay of the Court’s Order granting Plaintifi"s TR() is not legally Warranted
in this case; Defendants cannot meet the basic elements of FRCP 62(c). They argue
that a mere “likelihood” of success on the merits is the standard When the Rule
requires a “strong showing.” ln fact, given the law of this Circuit, Defendants have
virtually no chance of succeeding on their appeal of Well-settled questions of laW.
A policy providing far more due process than that of Defendants’ ~-cross-
examination in the form of Written questions at a live hearing--has been found
inadequate Where the accuser Was not present to be questioned by the accused. See
Doe v. Univ. of Cineinnati, 872 F.3d 393, 407 (6th Cir. 2017). Defendants’
arguments that irreparable harm Will befall them or others Without a Stay are
unsupported by any case law. And as to the facts presented here, Defendants again
fail to mention that their Statement of Student Rights and Responsibilities provides
full due process for students, including live cross-examination, and yet the rules of
the school continue to be enforced, claims are adjudicated, and sanctions are meted
out. Finally, the public interest lies clearly in favor of denying a stay, and ensuring
that Plaintiff is granted his constitutional right to due process

II. STANDARD ()F REVIEW

A motion to stay an injunction pending appeal is governed by Federal Rule

of Civil Procedure 62(c), Which states:

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When an appeal is taken from an interlocutory or final judgment
granting, dissolving, or denying an injunction, the court in its
discretion may Suspend, modify, restore, or grant an injunction during
the pendency of the appeal upon such terms as to bond or otherwise as
it considers proper for the security of the rights of the adverse party
Fed. R. Civ. P. 62(c). In deciding such a motion, the court considers the following
factors:
(1) whether the stay applicant has made a strong showing that he is
likely to succeed on the merits; (2) whether the applicant will be
irreparably injured absent a stay; (3) whether issuance of the stay will
substantially injure the other parties interested in the proceeding; and
(4) where the public interest lies.
Hilton v. Braunskill, 481 U.S. 770, 776 (1987). As discussed below, the Sixth
Circuit has provided extensive guidance on how each of these four factors are to be
applied.
III. ANALYIS

A. Defendants Mis-State Their Burden and Fail to Make a “Strong
Showing” of their Likelihood of Success on Appeal

Defendants fail to satisfy their burden of making a “strong showing” of a
likelihood of success on appeal. Defendants erroneously assert that a mere
“likelihood” of success on the merits of their appeal is sufficient to satisfy their
burden under Rule 62. In Grutter v. Bollinger, this Court rejected the argument that
even a “reasonable possibility of success” on appeal was sufficient to justify a Stay
of a preliminary injunction. See Grutter v. Bollinger, 137 F. Supp. 2d 874, 876

(E.D. Mich. 2001) (emphasis added). Movants are always required to show more

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than the mere possibility of reversal, even if the other Rule 62 factors are met. See
id. Rather, in order to merit a stay, the movant must make a “Mi_g showing” that
they are likely to succeed on appeal, demonstrating at minimum “serious questions
going to the merits.” See id. (emphasis added). In this case, Defendants struggle to
raise the specter of a mere possibility of reversal~»~let alone a strong showing that
they would succeed on appeal.

Defendants falsely argue that this factor is satisfied because the Court’s
decision to grant the preliminary injunction was “a close call on a matter of first
impression.” ln other words, Defendants claim that the questions of law the Court
decided could go either way-an argument which certainly does not amount to a
strong showing that Defendants would ultimately prevail. Moreover, as this Court
rightly pointed out, there are no serious legal questions regarding whether
Defendants’ Policy meets the requirements of the due process clause. The legal
concepts at issue in Plaintiff’ s motion for a preliminary injunction are already well-
settled in this Circuit.

In stating that the Sixth Circuit has not yet decided whether a circumscribed
cross-examination is constitutional in the absence of a live hearing, this Court
appeared to emphasize the constitutional deficiencies of Defendants’ “Policy,” i.e.,
that it does not even meet the bare minimum due process protections approved by

the Sixth Circuit in Doe v. Univ. of Cincinnati, Doe v. Miarni Univ., and Doe v.

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Cummins. See Dkt. #30 at 13. The Court was not asserting that its grant of the
preliminary injunction decided a novel legal issue. In fact, there is no legal
authority holding that a private interview and email correspondence, which may
include additional questions, alone provide adequate due process, as the following

recent decisions make clear:

0 Doe v. Univ. of Cincinnati, 872 F.3d 393 (6th Cir. 2017): “Few
procedures safeguard accuracy better than adversarial questioning In the
case of competing narratives, ‘cross-examination has always been
considered a most effective way to ascertain the truth,” (citations
omitted)

0 Doe v. Cwnmins, 662 F. App’x 437, 451 (6th Cir. 2016): The Court found
that appellants were able to conduct modified [live] cross-examination at
the hearing, and that therefore they had been provided with appropriate
due process

There can be no question but that this “circumscribed” form of cross-

examination by the parties themselves, in person, is a floor for what the Sixth
Circuit will approve of. Defendants argument that their unworkable Policy (in
effect since only February 2, 2018) where students get to read summaries written
by an investigator, and then suggest questions to be put to the other side by the
investigator via email or phone in a non-adversarial manner, is a substitute for due
process is a complete non-starter.

Furthermore, Defendants falsely assert that this Court applied existing Sixth

Circuit precedent incorrectly when it granted the preliminary injunction.

Defendants’ conclusion that their “Policy” has none of the flaws the Sixth Circuit

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addressed in Cincinnati is flatly wrong. lt is well-settled that “cross-examination is
not only beneficial, but essential to due process in a case that turns on credibility.”
Cineinnati, 872 F.3d at 402. The value of cross-examination in such circumstances
“cannot be overemphasized.” Id. at 404 (quoting from Newsome, 842 F.2d at 924).
Defendants’ contention that email correspondence with an investigator is a
constitutionally adequate substitute for cross-examination is at odds with well-
settled principles of constitutional law in the Sixth Circuit. Id. at 402.

Additionally, Defendants’ claim that they are under no obligation to provide
Plaintiff the opportunity to confront his accuser is also flatly contradicted by the
holding in Cincinnati, which specifically found that preventing the accused to
confront his accuser would be “fundamentally unfair.” Id. at 396. ln cases that turn
on credibility, like this one, allowing the accused to “confront and question” the
accuser is “essential to a fair hearing” and aids the “truth seeking process.” Id. at
401-04. Defendants’ attempts to substitute one-on-one interviews and email
correspondence with an investigator for a hearing and cross-examination do not
pass constitutional muster. Defendants have no legal basis to challenge this well-
settled principle of law in the Sixth Circuit.

Furthermore, this Court accurately recognized that the “Policy’s” appellate
process, which allows and external reviewer to change the investigator’s findings of

fact and ultimate decision on the basis of the record alone, would result in a denial

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of due process, because it allows the decision maker to make credibility
determinations without assessing the credibility of any parties or witnesses Ex. A,
The University of Michigan Policy and Procedures on Student Sexual and Gender-
Based Misconduct (“The Policy”) at 4. Defendants’ Motion does not even address
the constitutional implications of the Policy’s appellate procedure Notably, in
Cincinnati, the Sixth Circuit explicitly held that a process which allowed a
decision-maker to determine a party’s fate without seeing or hearing from their
opponent was “disturbing” and constituted a denial of due process Cincinnati, 872
F.3d at 402. lf a one-sided live hearing was found unconstitutional, the Policy’s
appellate procedure likewise is unconstitutional, because it allows the external
reviewer to make a final, un-appealable decision without having to assess the
parties’ and witnesses’ credibility.

Sixth Circuit precedent requires a live hearing and cross-examination in
cases where credibility is at issue and grave discipline may result from the
university’s determination Defendants’ Policy provides for none of these
constitutional protections Accordingly, Defendants are unable to even show the
mere possibility of their success on appeal. Defendants neither addressed nor met
their burden of making a “strong showing” of their likelihood of success Their
Motion for Stay must therefore be denied.

B. Defendants Fail to Show that They Will be Irreparably Harmed
Without a Stay

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There are three factors the Court must evaluate in determining whether
irreparable harm will result to Defendants absent a stay of the preliminary
injunction. See Grutter, 137 F. Supp. 2d at 876. First, the Court should consider the
substantiality of the harm alleged; second, the likelihood of its occurrence; and
third, the adequacy of the proof of such harm. Id. In addition, the movant must

show that the harm alleged is certain and immediate, not speculative or theoretical

 

ld. Because the burden of showing irreparable harm is So heavy, it is infrequently
met. See id. (motions seeking a stay are commonly denied). To successfully make
a showing of irreparable harm, Defendants should have addressed each factor in
turn, providing specific facts and affidavits supporting their assertions that these
facts exist. ld. Defendants contend that the preliminary injunction would harm
them in several ways; however, Defendants fail to address or provide any evidence
to satisfy the legal standard set forth above.

1. Alleged Harm of Drafting Constitutionally Deficient Policy
in Vain

First, Defendants argue that the preliminary injunction will harm them
because it would mean that the “painstaking efforts of the team of experts” that
devised its Policy would have gone to waste. Although Defendants assert that they
wasted considerable time and money in devising an unconstitutional process for

adjudicating sexual misconduct claims, they provide no proof of these efforts

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Specifically, Defendants provide no evidence regarding the make-up of this team,
its efforts, or related expenditures Defendants’ and their “experts” intentionally
ignored the Sixth Circuit’s September 25, 2017 ruling in Doe v. University of
Cincinnati. They also ignored the U.S. Department of Education Office for Civil
Rights Q&A on Campus Sexual Misconduct issued in September 2017, which
made clear that Universities should not have two different standards--a lower one
for sexual misconduct and another for all other offenses lndeed, the Department of
Education explained that under Doe v. Brandeis Univ., 177 F. Supp. 3d 561, 607
(D. Mass 2016),
“The lowering of the standard appears to have been a deliberate choice by
the university to make cases of sexual misconduct easier to prove--and thus
more difficult to defend, both for guilty and innocent students alike. lt
retained the higher standard for virtually all other forms of student
misconduct The lower standard may thus be seen, in context, as part of an
effort to tilt the playing field against students, which is particularly
troublesome in light of the elimination of other basic rights of the accused.”
See EX. C, Dept. of Education Q&A on Campus Sexual Misconduct at 5.
ln fact, with regard to the University of Michigan’s failure to follow the law of due

process, a Sixth Circuit Court of Appeals Judge stated, “I can’t get past the

University’s indifference, defiance or whatever you want to call it to our Circuit

 

precedent and the basic principles of due process." See Oral Argument Before
Sixth Circuit Court of Appeals in Case No. 17-2213, John Doe v. Davia’ Baum et
al., http://www.opn.ca6.uscourts.gov/internet/court audio/audl.php, at 29:06_

29:26 (August 2, 2018).

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Notably, Defendants cite no legal authority supporting their contention that
such wasted resources constitute harm that this Court may properly consider in
deciding whether to grant a stay. ln sum, Defendants offer no adequate proof of the
existence, let alone the substantiality, likelihood, certainty, or immediacy of this
alleged harm.

2. Alleged Harm of Disrupting the Parties’ Relative Positions

Defendants falsely argue that the Court’s Order should be stayed because it
would have the effect of disrupting the parties’ relative positions Notably, the
Sixth Circuit found that a preliminary injunction preventing the University of
Cincinnati from effectuating a student’s one-year suspension was appropriate relief
in Doe v. Univ. of Cincinnati, 872 F.3d 393, 407 (6th Cir. 2017), even where the
opinion may have affected others The relief provided in Cincinnati mirrors what
the Court has ordered here. The preliminary injunctions in both Cincinnati and the
instant case maintained the status quo of the parties by ensuring that students
entitled to due process protections were not forced to forego those protections
before a decision could be made on the merits of their lawsuit Contrary to
Defendants’ assertions, allowing Defendants to proceed against Plaintiff under an
unconstitutional Policy does not preserve the parties’ relative positions, but rather

subjects Plaintiff to the certain risk of irreversible harm.

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Defendants cite the distinguishable case of Sirnon Prop. Grp., Inc. v.
Taubman Centers, Inc., in support of their request for a stay. ln that case, the Court
granted a stay because without one, an irreversible change in company ownership
would have inevitably taken place. Simon Prop. Grp., Inc. v. Taubman Centers,
lnc., 262 F. Supp. 2d 794, 798-9 (E.D. Mich. 2003). This is completely
distinguishable from the instant case, where effectuating the Court’s order will
have no irreversible effects on the parties’ relative positions-under the order
Defendants will still be able to investigate Plaintiff and, if warranted, impose
sanctions on him using procedures that Defendants themselves designed

Defendants also argue that the Court’s Order should be stayed because it
would work some undefined, speculative harm on the 100 other schools which
allegedly also use a single-investigator process to adjudicate sexual misconduct
claims This claim fails to take account of the fact that when determining whether
to grant a stay, the Court evaluates harm to the parties, not non-parties-like the
100 other entities that are strangers to the instant lawsuit. See Univ. of Tx. V.
Camenisch, 451 U.S. 390, 395 (1981). Defendants must show how the preliminary
injunction will harm them, not others See Grutter, 137 F. Supp. 2d at 875. Even if
it were proper for the Court to consider the alleged harm to these other institutions7
Defendants do not even define the harm or address whether it is substantial or

likely to occur. Defendants provide no adequate proof that this harm would ever

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take place, and therefore fail to show the requisite certainty or immediacy required
to obtain a stay.

3. Alleged Harm to Enforce Rules Prohibiting Sexual
Misconduct on Campus

Next, Defendants argue that immediate enforcement of the preliminary
injunction would prevent the University from enforcing its rules prohibiting sexual
misconduct on campus Defendants offer no evidence whatsoever that applying the
Statement in Plaintiff’s case would result in the University being unable to regulate
its student body. To the contrary, the preliminary injunction leaves Defendants free
to enforce all of their rules with procedural changes designed to make the rules
fundamentally fair and constitutional

Defendants offer only their speculation that the preliminary injunction could
potentially leave them vulnerable to “the next lawsuit that will inevitably be
brought by the next affected student.” See Defs’ Brief at 10. Defendants are not
subject to irreparable harm simply because their unlawful Policy exposes them to
the possibility that other students whose constitutional rights may be violated may
file suit against them.

4. Alleged Harm Due to Witness Availability

Defendants allege that if the preliminary injunction is immediately enforced,

there is a “risk” that witnesses will not be available to attend a hearing held over

the summer break, thereby jeopardizing the integrity of the investigation and

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hearing Defendants fail to articulate how this supposed risk is at all unique to the
proceeding provided for by the Court’s Order. Witness participation is entirely
voluntary under the Policy and the Statement. See EX. A, The Policy at 24; see also
Ex. B, The Statement of Student Rights and Responsibilities (“The Statement”) at
7. Accordingly, witnesses are equally as able and likely to decline to participate
whether Defendants proceed under either process, immediately or at a later date.
Ex. A, The Policy at 24. Furthermore, Defendants’ concern is merely speculative
See Defs’ Brief at 11-12. They provide no proof that key witnesses are actually
unable to participate in an immediate hearing, or that their unavailability would be
an insurmountable barrier to adjudicating the Claimant’s complaint Finally,
classes begin September 4, 2018, less than four weeks away. Accordingly,
Defendants fail to meet the applicable legal standard to obtain a stay.
5. Alleged Harm Stemming From Untrained Panel Members

Defendants next argue that the integrity of the hearing would be jeopardized
by the fact that the student panel members are untrained on issues regarding sexual
misconduct Defendants offer no proof of what training student panel members
resolution officers, investigators or external reviewers do or do not receive.
Defendants similarly offer no proof that they would be unable to provide student
panel members adequate training in sexual misconduct issues prior to a hearing.

Furthermore, under the Statement, although the parties are allowed to indicate their

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preference as to whether their case should be adjudicated by a student panel or
resolution officer, this decision ultimately rests with the University. Ex. B, The
Statement at 6-7. Assuming, arguendo, that a student panel would be unfit to
adjudicate Plaintiff’ s case, the University already reserves the right to decline a
party’s request to send their case to a student panel. Therefore, it is impossible for
the panel’s lack of training to compromise the integrity of the adjudicatory process

6. Alleged Harm Due to Different Burdens of Proof Under
Statement and Policy

Defendants lastly speculate that they would be harmed because the differing
burdens of proof under the Statement and Policy could result in inconsistent
outcomes should they prevail on appeal. Defendants provide no proof or
explanation of how this scenario would work immediate, irreparable harm on
them; and thus fail to meet the requisite legal standard to obtain a stay. Moreover,
Defendants fail to mention that the U.S. Department of Education has most
recently directed that, “[t]he standard of evidence for evaluating a claim of sexual
misconduct should be consistent with the standard the school applies in other
student misconduct cases . . . When a school applies special procedures in sexual
misconduct cases, it suggests a discriminatory purpose and should be avoided.” See
Ex. C, Dept. of Education Q&A on Campus Sexual Misconduct at 5. Accordingly,
applying a consistent burden of proof could not possibly harm Defendants

7. Alleged Harm in Future Sexual Misconduct Cases

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Finally, Defendants falsely assert that the Court’s order draws into question
the propriety of applying the Policy to other open and future cases of sexual
misconduct. Again, Defendants do not set forth any evidence of the existence of
any certain, immediate, irreparable harm that the Court’s order will cause them, but
merely speculate as to its possible future effects all of which are unlikely to occur.
Nonetheless, even if the Court were to engage with this final alleged claim of
harm, Defendants’ claim fails The Policy itself specifically reserves the
University’s right to apply whichever policy it deems most suitable under the
circumstances of any given complaint of sexual misconduct. Ex. A, The Policy at
2. Since the University’s Policy directly contemplates situations where it would
adjudicate a complaint of sexual misconduct under some other authority or
procedure, the Court’s order cannot possibly set any harmful “irreversible
university precedent.” l\/Ioreover, the Policy itself states that it is subject to annual
review and modification to reflect “changes in legal requirements and resolution of
cases from that year.” Id. at 39. Accordingly, the Court’s order that Defendants
deviate from the Policy in order to adhere to the legal requirements of the
Constitution cannot harm Defendants because they expressly contemplated and
provided for such changes

In sum, Defendants have not met the requisite legal standard to show that

they will certainly suffer immediate, irreparable harm absent a stay. Defendants’

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“concerns and difficulties” with the Court’s Order are not legitimate concerns at
all, but are rather speculative artificial issues born of Defendants’ desperation to
avoid providing Plaintiff the ordered relief.

C. The Balance of Harms and Public Interest Favor Denial of a Stay

The balance of harms in this case and the public’s interest weigh in favor
denying a stay. Plaintiff would be substantially harmed by a stay of the preliminary
injunction. His eligibility to continue his graduate education could be curtailed or
even destroyed by Defendants finding that he sexually assaulted another student,
and any resultant sanctions lt is also undeniably in the Claimant’s best interest to
proceed immediately under the Court’s order, before the integrity of the
adjudicatory process is negatively impacted by fading memories and witnesses
becoming unavailable or unwilling to participate

Notably, Defendants have completely reversed their position on this issue
for the purposes of requesting a stay that serves their legal strategy, rather than any
of the parties’ substantive interests in the outcome of the disciplinary proceeding
When arguing against Plaintiff s motion for the preliminary injunction, Defendants
insisted that they, “cannot commit to stop the process,” because it would be unfair
to make the Claimant wait for an outcome simply because legal proceedings had

been initiated against the University. See Dkt. # 29 at 57110-21.

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Furthermore, ensuring that the process Defendants use to adjudicate sexual
misconduct claims comports with the Constitution will only bolster the integrity of
the outcome, which is best for all concerned ln fact, there is a strong public
interest in ensuring that public institutions like University of Michigan, follow the
Constitution. See Grutter, 137 F. Supp. 2d at 879.

IV. CONCLUSION

WHEREFORE, because Defendants failed to meet the legal standards that
would entitle them to a stay of this Court’s July 6, 2018 Order, Plaintiff requests
that this Honorable Court deny Defendants’ Motion].

Respectfully submitted,

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DATED: August 8, 2018

 

1ln opposing Defendants’ Motion for a Stay, Plaintiff does not intend to waive any
arguments in support of his position on cross-appeal before the Sixth Circuit that
he should be afforded direct (“live”) cross-examination during his disciplinary
hearing rather than circumscribed cross-examination as this Court ordered on July
6, 2018.

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CERTIFICATE OF SERVICE

l hereby certify that on August 8, 2018, l electronically filed the foregoing
document with the Clerk of the Court using the ECF system, which will send
notification of such filing and service of said documents to all parties through their
counsel of record.

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